                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:19-CV-581-RJC-DCK

 JOSEPH B. LAMBERT,                                    )
                                                       )
                 Plaintiff,                            )
                                                       )
    v.                                                 )       ORDER
                                                       )
 FIRST HORIZON BANK, et al.,                           )
                                                       )
                 Defendants.                           )
                                                       )

         THIS MATTER IS BEFORE THE COURT on “Plaintiff’s Motion For Appropriate

Relief” (Document No. 26) filed September 24, 2020. This motion has been referred to the

undersigned Magistrate Judge pursuant to 28 U.S.C. §636(b), and immediate review is appropriate.

By the instant motion, Plaintiff seeks an extension of time to file a response to “Defendant First

Horizon Bank’s Motion To Dismiss” (Document No. 25).

         Having carefully considered the motion and the record, and noting Defendant’s consent,

the undersigned will grant the motion.

         IT IS, THEREFORE, ORDERED “Plaintiff’s Motion For Appropriate Relief”

(Document No. 26) is GRANTED. Plaintiff shall file a response to Defendant’s “…Motion To

Dismiss” (Document No. 25) on or before October 7, 2020.

         SO ORDERED.


                                  Signed: September 25, 2020




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